         Case 1:22-cr-00673-LAK Document 419 Filed 03/26/24 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                               United States Attorney
                                               Southern District of New York

                                               The Silvio J. Mollo Building
                                               One Saint Andrew’s Plaza
                                               New York, New York 10007


                                                March 26, 2024

BY ECF
The Honorable Lewis A. Kaplan.
United States District Court Judge
Southern District of New York
United States District Court
500 Pearl Street, Room 2240
New York, New York 10007

   Re:   United States v. Samuel Bankman-Fried, 22 Cr. 673 (LAK)

Dear Judge Kaplan,

      Accompanying this letter, the Government has attached additional victim
impact statements numbered 64 through 117. These victim impact statements
contain limited redactions pertaining to personal identifying information.

                                       Very truly yours,

                                       DAMIAN WILLIAMS
                                       United States Attorney


                                     By:        /s/Danielle Kudla
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